Case 21-60052 Document 118 Filed in TXSB on 01/06/22 Page 1 of 11

 

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Case 21-60052 Document 118 Filed in TXSB on 01/06/22 Page 2 of 11

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Case 21-60052 Document 118 Filed in TXSB on 01/06/22 Page 4 of 11

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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5 Case 21-60052 Document 118 Filed in TXSB on 01/06/22 Page 5 of 11
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Case 21-60052 Document1i8 Filed in TXSB on 01/06/22 Page 6 of 11
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Case 21-60052 Document 118 Filed in TXSB on 01/06/22 Page 8 of 11

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Case 21-60052 Document 118 Filed in TXSB on 01/06/22 Page 10 of 11

 

 

 

 

 

 

 

 

 

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GE 266'€2- vO'OL- x SPOo+ SjOUAA HOV LZOZ/P L/L L yOBUD
Le°286'€2- €8'¥e- xX g3H HOV LZO?/VL/LL sud
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SO'8r8'E2- 00'08- x yseg WLY LZ0Z/60/41 Yayg
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ve Lez‘ez- 6S°61- x SUT, UlMaYs HOV LCOZ/LO/EL yOBYD
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Case 21-60052 Document 118 Filed in TXSB on 01/06/22 Page 11 of 11

 

 

 

 

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